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John Feehan




      John Feehan




      N/A




      N/A
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Kansas




Kansas




United States District Court for the District of New Jersey




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2/25/15                    Overland Park Regional MC   Robert Pruitt, M.D.
                           Overland Park, KS
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N.J. Stat. Ann. §§ 56:8-1, et seq.




The nature of Plaintiff's injuries and damages and their relationship to the product was not discovered, and through reasonable care


and diligence could not have been discovered, until a date within the applicable statute of limitations for filing Plaintiff's claims.
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